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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,
                                                             Hon. Paul L. Maloney
                      Plaintiff,
                                                             U.S. District Judge
v.
                                                             Case No. 1:17-cr-060
WILLIAM HUGH WILSON,

                      Defendant.
                                           /


         DEFENDANT WILLIAM HUGH WILSON’S MOTION FOR VARIANCE

         NOW COMES the Defendant William Hugh Wilson, by and through his attorney,

Geoffrey Upshaw, and respectfully moves this Honorable Court to grant a variance when

sentencing the defendant. The reasons which support the Motion are set forth in the attached

Brief.

                                               Respectfully submitted,



Dated: October 10, 2017                         /s/ Geoffrey Upshaw
                                               Geoffrey Upshaw
                                               Attorney for William Hugh Wilson
                                               429 Turner Ave. NW
                                               Grand Rapids, MI 49504
                                               Telephone: (616) 356-5088




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